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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                 OCALA DIVISION

  W ANDA CANTRELL,

                            Plaintiff,

  -vs-                                        Case No. 5:10-cv-612-Oc-10GJK

  COLLECTION           COMPANY           OF
  AMERICA,

                      Defendant.
  _____________________________________/

                                         ORDER

         This case is before the Court on the Plaintiff’s Notice of Voluntary Dismissal

  (Doc. 7). The Defendant has not filed an answer or motion for summary judgment.

  Pursuant to the Notice and in accordance with Fed. R. Civ. P. 41(a)(1), the Clerk is

  directed to enter judgment dismissing this case W ITHOUT PREJUDICE, each Party

  to bear its own fees and costs. The Clerk is further directed to terminate any pending

  motions and to close the file.

         IT IS SO ORDERED.

         DONE and ORDERED at Ocala, Florida this 13th day of January, 2011.




  Copies to:   Counsel of Record
               Maurya McSheehy
